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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


CLINT BREWER,


                          Plaintiff,               Docket No. 1:20-cv-04865-AKH

     - against -

SOFIA VERGARA ENTERPRISES, INC. and
SOFIA VERGARA

                          Defendants.




    PLAINTIFF’S MEMORANDUM OF LAW AND STATEMENT OF DAMAGES
      IN SUPPORT OF HIS MOTION FOR ENTRY OF DEFAULT JUDGMENT
     AGAINST SOFIA VERGARA ENTERPRISES INC. AND SOFIA VERGARA
             PURSUANT TO FED.R.CIV.P. 55(b)(2) and L.R. 55.2(b)
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       Plaintiff Clint Brewer (“Plaintiff” or “Brewer”) respectfully submits his proposed

findings of fact, proposed conclusions of law and inquest memorandum of law in further support

of his motion for default judgment against Defendants Sofa Vergara Enterprises. Inc. and Sofia

Vergara (“Defendants.”)


                              PROPOSED FINDINGS OF FACT

       1.      Plaintiff’s claim for copyright infringement under 17 U.S.C. § 501 is based on

Defendants’ unlawful expropriation of Plaintiff’s registered photograph of Sofia Vergara (the

“Photograph”). (the “Photograph”).

       2.      Plaintiff licensed the Photograph to the Daily Mail. On or about March 4, 2020,

the Daily Mail ran an article that featured the Photograph titled Sofia Vergara is effortlessly chic

in ripped jeans as she joins Heidi Klum when walking onto the set of America’s Got Talent. See:

www.dailymail.co.uk/tvshowbiz/article-8076073/Sofia-Vergara-Heidi-Klum-walk-set-Americas-

Got-Talent.html. Plaintiff’s name was featured in a gutter credit identifying him as the

photographer of the Photographs. [Complaint, ¶ 8, Ex. B]

       3.      Defendants operate a website at URL www.Instagram.com/SofiaVergara (the

“Website”). [Complaint, ¶¶ 6-7, Ex. C]

       4.      Defendants published an article on the Website featuring the Photograph.

[Complaint, ¶ 12, Ex. C] The Article did not credit Plaintiff as the photographer.

       5.      Defendants also removed Plaintiff’s gutter credit when it re-published the

Photograph on their Website, in violation of section 1202(b)(3) of the Digital Millennium

Copyright Act (“DMCA”). [Compl., Ex. C]




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       6.      Defendants did not license the Photograph from Plaintiff for its article, nor did

Defendants have Plaintiff’s permission or consent to publish the Photographs on its Website

[Complaint, ¶ 14]




                           PROPOSED CONCLUSIONS OF LAW

Jurisdiction

       1.      The Court has subject matter jurisdiction under the Copyright Act, 17 U.S.C. §

101 et seq., and pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       2.      This Court has personal jurisdiction over Defendants because Defendants is a

domestic business corporation, organized under the laws of the State of New York, and resides

and/or transacts business in New York. [Compl. ¶ 6]



Liability for Copyright Infringement

       3.      When a default judgment is entered, the Defendants’ failure to respond constitutes

an admission of the well-pleaded factual allegations in the complaint, except as to claims relating

to damages.” Greyhound Exhibitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d

Cir.1992).

       3.      Here, the Complaint sets forth factual allegations which, if taken as true, establish

Defendants’ violation of Plaintiff’s copyright in the Photograph. To establish a claim of

copyright infringement, plaintiff must show two elements: (1) ownership of a valid copyright;

and (2) unauthorized copying of the copyrighted work. Feist Publ'ns, Inc. v. Rural Tel. Serv.

Co., 499 U.S. 340, 361 (1991); Castle Rock Entm't, Inc. v. Carol Publ'g Group, Inc., 150 F.3d

132, 137 (2d Cir. 1998).



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        4.      Plaintiff owns a valid copyright in and to the Photograph. [Compl. ¶¶ 8-11]

        5.      Defendants infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. [Compl. ¶ 18]

        6.      Defendants are not, and have never been, licensed or otherwise authorized to

reproduce, publically display, distribute and/or use the Photograph. [Compl. ¶ 18]

        7.      The acts of Defendants constitute infringement of Plaintiff’s copyright and

exclusive rights under copyright in violation of Sections 106 and 501 of the Copyright Act, 17

U.S.C. §§ 106 and 501.

Willfulness

        8.      Because Defendants defaulted, the acts of infringement by Defendants are

deemed willful and in reckless disregard to Plaintiff’s rights. See Chloe v. Zarafshan, No. 06-

CV-3140 (RJH) (MHD), 2009 WL 2956827, at *7 (S.D.N.Y. Sept. 15, 2009) (“Willfulness may

be established by a party's default because an innocent party would presumably have made an

effort to defend itself.”); Rovio Entm't, Ltd. v. Allstar Vending, Inc., 97 F. Supp. 3d 536, 546

(S.D.N.Y. 2015) (“Copyright infringement is deemed willful by virtue of a Defendants’

default.”); All–Star Mktg. Grp., LLC v. Media Brands Co., 775 F.Supp.2d 613, 621–22

(S.D.N.Y. 2011) (“Defendants have defaulted and by virtue of their default are deemed to be

willful infringers”).

Statutory Damages

        9.      As a direct and proximate cause of the infringement by the Defendants of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to statutory

damages up to $150,000 per work infringed for Defendants’ willful infringement of the

Photograph, pursuant to 17 U.S.C. § 504(c).




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       10.     The Copyright Act provides for statutory damages as follows:

               [T]he copyright owner may elect, at any time before final judgment is
               rendered, to recover, instead of actual damages and profits, an award of
               statutory damages for all infringements involved in the action, with respect
               to any one work, for which any one infringer is liable individually, or
               for which any two or more infringers are liable jointly and severally, in a
               sum of not less than $750 or more than $30,000 as the court considers just.
               For the purposes of this subsection, all the parts of a compilation or
               derivative work constitute one work.

               17 U.S.C. § 504(c)(1)

       9.      Courts determining statutory damages pursuant to § 504(c) consider the

following factors: (1) the infringer's state of mind; (2) the expenses saved, and profits earned, by

the infringer; (3) the revenue lost by the copyright holder; (4) the deterrent effect on the

infringer and third parties; (5) the infringer's cooperation in providing evidence concerning the

value of the infringing material; and (6) the conduct and attitude of the parties. See Bryant v.

Media Rights Prods., Inc., 603 F.3d 135, 144 (2d Cir. 2010); see also Prokos v. Grossman, No.

19-CV- 4028 (BMC), 2020 WL 729761, at *2 (E.D.N.Y. Feb. 13, 2020) (quoting Bryant)

(same). “Plaintiff gets the benefit of the doubt in applying these factors because [Defendants]’s

default makes it difficult for [it] to obtain discovery showing [Defendants]’s finances.” Prokos,

2020 WL 729761, at *2.

       10.     The Court does not need to assess Plaintiff’s loss of revenues or Defendants’

profits to calculate a statutory damages award. See Tu v. TAD System Technology, Inc., 2009

WL 2905780 (E.D.N.Y. Sept. 10, 2009) (‘the failure to establish actual damages does not

impair this Court’s ability to devise a proper statutory award.”). Even if evidence of Plaintiff’s

actual losses is available, there is no requirement that Plaintiff produce such evidence after

electing to recover statutory damages. See CJ Products, LLC v. Your Store Online LLC, No.

11-cv-9513 (GBD) (AJP), 2012 WL 2856068, fn. 4 (S.D.N.Y. July 12, 2012).


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                                           ARGUMENT

POINT I:       PLAINTIFF MEETS ALL PROCEDURAL REQUIREMENTS FOR THE
               COURT’S ENTRY OF DEFAULT JUDGMENT


       “Rule 55(b) of the Federal Rules of Civil Procedure provides that when a party moves for

judgment against an adverse party who has failed to answer or otherwise appear in the action, the

court may enter judgment against the defaulting party.” Coated Fabrics Co. v. Mirle Corp., No.

06-cv-5415, 2008 WL 163598, *4 (E.D.N.Y. Jan. 16, 2008) (citing Fed.R.Civ.P. 55(b)). Further,

a plaintiff asserting copyright infringement may be granted a default judgment where the

Defendants has failed to answer or to move against the complaint. See Broadcast Music, Inc. v.

R Bar of Manhattan, Inc., 919 F.Supp. 656, 659 (S.D.N.Y.1996). As illustrated below, plaintiff

has met the procedural and substantive requirements to warrant the Court’s entry of default.

       Rule 55(b)(2) of the Federal Rules, in tandem with the Southern District of New York

Local Rule 55.2(b) set forth certain procedural prerequisites that must be met before a default

judgment may be entered. Here, the record shows that Plaintiff has met the procedural

requirements because he has submitted an attorney declaration with the required information, a

proposed default judgment, a memorandum of law, a Statement of Damages, and copies of the

pleadings; a copy of the affidavit of service, and the Clerk’s Certificate of Default.


POINT II:      THE WELL-PLEADED ALLEGATIONS OF THE COMPLAINT
               ESTABLISH THE DEFENDANTS’ VIOLATION OF PLAINTIFF’S
               COPYRIGHT

       When a default judgment is entered, the Defendants’ failure to respond constitutes an

admission of the well-pleaded factual allegations in the complaint, except as to claims relating to

damages.” Coated Fabrics Co., 2008 WL 163598, at *4 (citing Greyhound Exhibitgroup, Inc. v.


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E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir.1992); Au Bon Pain Corp. v. Artect, Inc., 653

F.2d 61, 65 (2d Cir. 1981)).

       Here, the Complaint sets forth factual allegations which, if taken as true, establish

Defendants’ violation of Plaintiff’s copyright in the Photograph. To establish a claim of

copyright infringement, plaintiff must show two elements: (1) ownership of a valid copyright;

and (2) unauthorized copying of the copyrighted work. Feist Publ'ns, Inc. v. Rural Tel. Serv.

Co., 499 U.S. 340, 361 (1991); Castle Rock Entm't, Inc. v. Carol Publ'g Group, Inc., 150 F.3d

132, 137 (2d Cir. 1998).

A.     PLAINTIFF OWNS A VALID COPYRIGHT

(1)    Plaintiff’s Photograph is Subject to Copyright Protection

       “Protection under the copyright statute extends to pictorial works[.]” Rogers v. Koons,

960 F.2d 301, 306 (2d Cir. 1992) (citing 17 U.S.C. § 102(a)(5)). “Even the slightest artistic

touch will meet the originality test for a photograph.” Ets–Hokin v. Skyy Spirits, Inc., 225 F.3d

1068, 1074-76 (9th Cir. 2000); see also Jewelers' Circular Pub. Co. v. Keystone Pub. Co., 274 F.

932, 934 (S.D.N.Y. 1921) (Judge Learned Hand) (“no photograph, however simple, can be

unaffected by the personal influence of the author.”). “Elements of originality in a photograph

may include posing the subjects, lighting, angle, selection of film and camera, evoking the

desired expression, and almost any other variant involved.” Rogers, 960 F.2d at 307 (citations

omitted); see also Kisch v. Ammirati & Puris Inc., 657 F.Supp. 380, 382 (S.D.N.Y. 1987)

(originality expressed through “the photographer’s selection of lighting, shading, positioning and

timing.”)

       Here, Plaintiff alleges that he photographed Sofia Vergara [Compl., ¶ 8] and that he is the

author of the Photograph [Id. at ¶ 10] The Photograph is protectable under the Copyright Act



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because Plaintiff exercised a personal choice in the selection of the subjects; choice of his own

professional camera equipment; and determination of the precise time when the photograph was

taken.1

(2)       Plaintiff’s Photograph is Subject to a Valid Copyright Registration

          Pursuant to 17 U.S.C. § 410(c), a certificate of registration from the U.S. Copyright

Office, if timely obtained, “constitute[s] prima facie evidence of the validity of the copyright . .

.“ 17 U.S.C. § 410(c). A certificate of copyright registration is prima facie evidence of both

valid ownership of copyright and originality. Scholz Design, Inc. v. Sard Custom Homes, LLC,

691 F.3d 182, 186 (2d Cir. 2012). To be timely, a certificate of registration must be obtained

“before or within five years after first publication” of a work. Island Software & Computer

Serv., Inc. v. Microsoft Corp., 413 F.3d 257 (2d Cir. 2005). Thus, “[p]ossession of a registration

certificate creates a rebuttable presumption that the work in question is copyrightable.”

Whimsicality, Inc. v. Rubie's Costume Co. Inc., 891 F.2d 452, 455 (2d Cir. 1989). A party’s

“proffer of its certificate of copyright registration thus shifts to [the opposing party] the burden

of proving the invalidity of the copyright.” Fonar Corp. v. Domenick, 105 F.3d 99, 104 (2d Cir.),

cert. denied, 522 U.S. 908 (1997).

          Here, Plaintiff is in possession of a certificate of registration from the U.S. Copyright

Office, bearing registration number VA 2-207-931 [Freeman Decl., Exhibit D]. The 931

Registration was obtained within five years after first publication of the work, which took place

on or about June 6, 2020. [Id.] Accordingly, the 931 Registration serves as prima facie evidence


1
  See Morris v. Guetta, 2013 WL 440127, *3 (CD. Cal. Feb. 4, 2013) (“almost any[ ] photograph
may claim the necessary originality to support a copyright merely by virtue of the photographers’
personal choice of subject matter, angle of photograph, lighting, and determination of the precise
time when the photograph is to be taken”) (citing 1 Melvin B. Nimmer & David Nimmer,
NIMMER ON COPYRIGHT § 2.08[E][1], at 2–130 (1999)).

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of Plaintiff’s valid copyright ownership and creates a rebuttable presumption that the work in

question is copyrightable. Whimsicality, Inc., 891 F.2d at 455. Defendants have not and cannot

sustain its burden of showing that the 931 Registration is invalid.

B.     DEFENDANTS COPIED PLAINTIFF’S REGISTERED WORK WITHOUT AUTHORIZATION

       To satisfy the second element of an infringement claim, a plaintiff must show both that

his work was “actually copied” and that the portion copied amounts to an “improper or unlawful

appropriation.” Castle Rock, 150 F.3d at 137 (citation and internal quotation marks omitted).

1.     Defendants’ Copy is Virtually Identical to the Registered Work and is Therefore
       “Strikingly Similar” As a Matter of Law

       Copying can be proven in several ways, including through indirect proof establishing that

the Defendants had “access to the copyrighted work and that the similarities between the works

are probative of copying.” Procter & Gamble Co. v. Colgate-Palmolive Co., 199 F.3d 74, 77 (2d

Cir. 1999). However, “[i]f the two works are so strikingly similar as to preclude the possibility

of independent creation, ‘copying’ may be proved without a showing of access.” Lipton, 71 F.3d

at 471 (granting summary judgment on infringement liability where works at issue were virtually

identical). “Striking similarity exists when two works are so nearly alike that the only reasonable

explanation for such a great degree of similarity is that the later was copied from the first.” Gal v.

Viacom Intern., Inc., 518 F.Supp.2d 526, 537 (S.D.N.Y. 2007); see also U.S. Media Corp., Inc.

v. Edde Entertainment, Inc., No. 94-cv-4849 (MBM), 1996 WL 520901, * 3 (S.D.N.Y. Sept. 12,

1996) (finding striking similarity where “there is no real question that the films owned by the

plaintiff and those distributed by the Defendants are essentially identical”). “The court’s task is

to apply logic and experience to determine if copying is the only realistic basis for the

similarities at hand.” Id.; see also NIMMER ON COPYRIGHT §13.02[B] (2015) (“At base, ‘striking




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similarity’ simply means that, in human experience, it is virtually impossible that the two works

could have been independently created.”)

       Here, the Complaint alleges that Defendants actually copied the Photograph by

reproducing and publically displaying the Photograph on the Website. [Compl., ¶ 18]. Indeed,

direct side-by-side comparisons between the original Photograph and the image used by

Defendants on its website demonstrates that they are virtually identical. Defendants has merely

reproduced a wholesale duplication of the Photograph.

2.     Defendants’ Copying is Unauthorized and Therefore Improper

       Section 106 of the Copyright Act gives the owner of a valid copyright the exclusive

rights, inter alia, to “reproduce the copyrighted work in copies;” “to prepare derivative works

based on the copyrighted work”; and to “distribute copies ... of the copyrighted work to the

public by sale or . . . lease.” 17 U.S.C. § 106(1)-(3).

       According to the Complaint, Plaintiff never granted Defendants authorization to copy the

Photograph [Compl., ¶ 18] and therefore violated his rights under 17 U.S.C. §§ 106 and 501.

Defendants’ copying therefore amounted to “an improper and unlawful appropriation.” Castle

Rock, 150 F.3d at 137. Having adequately pled a valid copyright registration certificate and

proof of unlawful copying, default judgment in favor of Plaintiff should be granted on the issue

of Defendants’ liability for copyright infringement.

C.     DEFENDANTS HAS FAILED TO INTERPOSE A MERITORIOUS DEFENSE

       In considering a motion for default judgment, the court considers “(1) ‘whether the

Defendants’ default was willful; (2) whether Defendants has a meritorious defense to plaintiff's

claims; and (3) the level of prejudice the non-defaulting party would suffer as a result of the

denial of the motion for default judgment.’” Rodriguez v. Almighty Cleaning, Inc., 784



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F.Supp.2d 114, 123 (E.D.N.Y. 2011) (quotation and other citations omitted); see also Mason

Tenders District Council Welfare Fund v. M & M Contracting & Consulting, 193 F.R.D. 112,

114–15 (S.D.N.Y. 2000) (citation omitted).

       Here, the Court’s granting of Plaintiff’s motion for default judgment is warranted because

(1) Defendants has not moved against the Complaint, has failed to answer and has otherwise

failed to appear before this Court, indicating that Defendants’ default is willful; (2) Defendants

has not asserted any defense to the copyright infringement claim and, in any event, does not have

a cognizable defense; and (3) plaintiff would suffer a high level of prejudice if the Court were to

deny his motion because the Copyright Act entitles him to recover statutory damages for

Defendants’ violation of his exclusive rights under 17 U.S.C. § 106, such that denial of this

motion would cause deprivation of Plaintiff’s statutorily protected rights and would frustrate the

purpose of the Copyright Act.



POINT III:     FOR COUNT I, THE COURT SHOULD AWARD $5,000.00 IN
               STATUTORY DAMAGES

       In the Digital Age, copyright infringement has reached epidemic proportions on-line.

See, e.g., United States v. Elcom Ltd., 203 F. Supp. 2d 1111, 1132 (N.D. Cal. 2002) (“piracy of

intellectual property has reached epidemic proportions” in internet age); Jessica Silbey et al.,

Existential Copyright & Professional Photography, 95 Notre Dame L. Rev. 263, 267 (2019)

(“The current, online environment makes infringements too numerous to fight exhaustively.”);

Ben Depoorter, If You Build It, They Will Come, 33 Berkeley Tech. L.J. 711, 712 (2018)

(“Copyright has a small claims problem . . . . The time, effort, and legal costs involved with

litigation outweigh the resources available to many copyright holders; especially in light of the

modest amounts at stake in most disputes.”).



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       As such, a defaulting Defendants in an infringement action should not be accorded the

proverbial “slap on the wrist,” but should instead be held accountable to the maximum extent of

federal law for the theft of intellectual property. Consistent with judicial precedent in this

Circuit, and to deter the epidemic of future infringement, the Court should award $5,000.00 in

statutory damages on Count I for copyright infringement.


A.     PLAINTIFF ELECTS STATUTORY DAMAGES UNDER THE COPYRIGHT ACT

       For violation of 17 U.S.C. § 501, Plaintiff seeks $5,000.00 in statutory damages for

willful copyright infringement. Plaintiff’s copyright infringement claim qualifies for statutory

damages under 17 U.S.C. § 504(c) because the Photograph was registered within three months of

initial publication. See 17 U.S.C. § 412(2); see also Arista Records LLC v. Lime Grp. LLC, No.

06 CV 5936 KMW, 2011 WL 1226277, at *1 (S.D.N.Y. Mar. 29, 2011) (noting that §412(2)

provides a three-month grace period to register a copyright after the work’s first publication).

       Here, the Photograph was initially published on March 4, 2020 and the effective date of

copyright registration is June 2, 2020, within the three-month grace period to qualify for

statutory damages under 17 U.S.C. § 504(c) plus attorneys’ fees under 17 U.S.C. § 505.

Attached as Exhibit D to the Freeman declaration is a true and correct copy of Plaintiff’s relevant

copyright registration as maintained by the Public Catalog on the U.S. Copyright Office’s

website.


B.     STATUTORY DAMAGES MAY BE AWARDED WITHOUT ANY PROOF OF ACTUAL
       DAMAGES OR INFRINGER’S PROFITS

        “A statutory damages award under the Copyright Act is by definition an authorized civil

penalty.” Capital Records, Inc. v. MP3tunes, LLC, 48 F.Supp.3d 703, 732 (S.D.N.Y. 2014).

“[A]n award of statutory damages may serve purposes traditionally associated with legal


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relief, such as compensation and punishment.” Feltner v. Columbia Pictures Television, Inc., 523

U.S. 340, 352 (1998); see also Lauratex Textile Corp. v. Allton Knitting Mills, Inc., 519 F.Supp.

730, 733 (S.D.N.Y.1981) (explaining that statutory damages may be used to “provide a deterrent

for would-be infringers”).2 “[S]tatutory damages are particularly appropriate where a Defendants

has defaulted.” Microsoft Corp. v. Atek 3000 Computer Inc., No. 06-cv-6403 (SLT) (SMG),

2008 WL 2884761, at *3 (E.D.N.Y. July 23, 2008).

         “At the plaintiff's election, Section 504 of the Copyright Act allows the Court to assess

statutory damages for each work for which the copyright has been infringed, in a ‘sum of not less

than $750 or more than $30,000 as the court considers just,’ 17 U.S.C. § 504(c)(1), without

requiring a plaintiff to make a showing of profit by the Defendants or loss by the plaintiff as a

result of the infringing activity.” Peer Int'l Corp. v. Max Music & Entm't, Inc., No. 03 CIV. 0996

(KMW-DF), 2004 WL 1542253, at *2 (S.D.N.Y. July 9, 2004); see also Starbucks Corp. v.

Morgan, 99 Civ. 1404, 2000 WL 949665 at *2 (S.D.N.Y. July 11, 2000) (statutory damages

“‘are available without proof of plaintiff's actual damages or proof of any damages.”).

Additionally, Section 504 authorizes the Court to increase the statutory damage award to any

amount up to $150,000 for each work involved, if the infringement was committed

willfully. See 17 U.S.C. § 504(c)(2).

         Here, Plaintiff elects to pursue statutory damages under the Copyright Act. 17 U.S.C. §

504(c). Accordingly, the Court does not need to assess Plaintiff’s loss of revenues or




2
 See also Stevens v. Aeonian Press, Inc., No. 00 Civ. 6330(JSM), 2002 WL 31387224 at *1 (S.D.N.Y. Oct. 23,
2002) (“[S]tatutory damages are not meant to be merely compensatory or restitutionary . . . . The statutory award is
also meant ‘to discourage wrongful conduct.”); Broadcast Music, Inc., v. R Bar of Manhattan, Inc., 919 F.Supp.
656, 660 (S.D.N.Y. 1996) (in order “to put infringers ‘on notice that it costs less to obey the copyright laws than to
violate them,’ . . . a statutory damage award should significantly exceed the amount of unpaid license fees.”).



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Defendants’ profits to calculate an award. See Tu, 2009 WL 2905780 (“the failure to establish

actual damages does not impair this Court’s ability to devise a proper statutory award.”).

       Indeed, even if evidence of Plaintiff’s actual losses is available, there is no requirement

that Plaintiff produce such evidence after electing to recover statutory damages. See CJ

Products, LLC v. Your Store Online LLC, No. 11-cv-9513 (GBD) (AJP), 2012 WL 2856068, fn.

4 (S.D.N.Y. July 12, 2012) (“Under the current [Copyright] Act, the copyright owner may elect

to recover statutory damages, instead of actual damages and Defendants’ profits. He may,

moreover, make such an election regardless of the adequacy of the evidence offered as to his

actual damages and the amount of Defendants’ profits, and even if he has intentionally declined

to offer such evidence, although it was available.’”) (quoting 4 Melville B. Nimmer & David

Nimmer, NIMMER ON COPYRIGHT § 14.04[A] (2009 ed.) (italics added); Pearson Education, Inc.

v. Nugroho, No. 08-cv-8034 (DAB) (AJP), 2009 WL 3429610, *5 (S.D.N.Y. Oct. 27, 2009)

(same).3

       Instead, the Court may rely solely on the Defendants’ willfulness in determining the

appropriate amount within the statutory range. See, e.g,, Entral Group Int'l LLC v. Honey Cafe

on 5th, Inc., 2006 WL 3694584, at *6 (E.D.N.Y. Dec. 14, 2006) (awarding $150,000 for

Defendants’ willful infringement although neither the plaintiff’s losses nor the Defendants’

profits were established); Van Der Zee v. Greenidge, 2006 WL 44020, *2 (S.D.N.Y. Jan. 6,

2006) (“Absent additional evidence of profits lost and repeated by the parties, this court must



3
 But see, e.g., Seelie v. Original Media Grp. LLC, No. 19-CV-5643 (BMC), 2020 WL 136659, at
*2 (E.D.N.Y. Jan. 13, 2020) (“it is obviously incumbent upon the plaintiff to submit a record
sufficient to support the amount of statutory damages that he is seeking.”); Lowery v. Fire Talk
LLC, No. 19-CV-3737 (LDH) (RER) 2020 WL 5441785, at *3 (June 29, 2020), report and
recommendation adopted, 2020 WL 5425768 (E.D.N.Y. Sept. 10, 2020) (“plaintiff still has the
ability—and the responsibility—to present some minimal amount of evidence in support of [its]
damages request.”).

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rely principally on Defendants’ willful conduct in determining damages.”); Wilen v. Alternative

Media Net, Inc., 2004 WL 2823036, *2 (S.D.N.Y. Dec. 3, 2004) (“Given the absence of

evidence presented to the Court regarding the parties’ profits and losses . . . I must rely

principally on the fact that the Defendants’ actions were willful . . .”); see also F.W. Woolworth

Co. v. Contemporary Arts, 344 U.S. 228, 233, 73 S.Ct. 222, 97 L.Ed. 276 (1952) (“Even for

uninjurious and unprofitable invasions of copyright the court may, if it deems just, impose a

liability within statutory limits to sanction and vindicate the statutory policy [of discouraging

wrongful conduct].”)

       Here, this Court should reject the flawed notion that it is Plaintiff’s “responsibility” to

present evidence of actual damages (i.e., lost licensing fees) in order to calculate statutory

damages on default. See, e.g., Seelie, 2020 WL 136659 at *2; Lowery, 2020 WL 5441785, at *3.

Under Second Circuit law, a statutory damages plaintiff has no obligation to show actual

damages or losses. See Psihoyos v. John Wiley & Sons, Inc., No. 11 CIV. 1416 JPO, 2012 WL

5506121, at *4 (S.D.N.Y. Nov. 7, 2012), aff’d, 748 F.3d 120, 127 (2d Cir. 2014).

       In Psihoyos, the Second Circuit affirmed awards of $100,000 and $30,0000, respectively,

for two separate photographs based on a jury’s finding of willful infringement, finding that

“[a]lthough revenue lost is one factor to consider, we have not held that there must be a direct

correlation between statutory damages and actual damages. To suggest otherwise is to ignore the

various other factors a court may consider and the purposes of statutory damages in the willful

infringement context.” Psihoyos, 748 F.3d at 127 (emphasis added); see also Agence France

Presse v. Morel, No. 10-CV-2730-AJN, 2014 WL 3963124, at *12 (S.D.N.Y. Aug. 13, 2014) (“it

is not true that there must be ‘some correlation’ between actual and statutory damages”); Yurman




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Design, 262 F.3d at 113 (upholding jury’s statutory damages award that Defendants argued bore

“little relationship” to actual damages).

C.     AS A MATTER OF LAW, THE COURT MAY DRAW AN INFERENCE OF WILLFULNESS
       FROM DEFENDANTS’ FAILURE TO APPEAR AND DEFEND THE ACTION

       In connection with the determination of enhanced damages under § 504, the Second

Circuit has defined “willfulness” as the Defendants’ actual or constructive knowledge that his

actions constitute an infringement; thus, “reckless disregard of the copyright holder’s rights . . .

suffices to warrant award of the enhanced damages.” N.A.S Imp. Corp. v. Chenson Enterpr., 968

F.2d 250, 252 (2d Cir. 1992) (internal quotation marks and citation omitted); see also Yurman

Design, Inc. v. PAJ, Inc., 262 F.3d 101, 112 (2d Cir. 2001) (“Willfulness in this context means

that the Defendants recklessly disregarded the possibility that its conduct represented

infringement. A plaintiff is not required to show that the Defendants had knowledge that its

actions constituted an infringement.”) (internal quotation marks and citations omitted).

       It is well-established in this Circuit that the Court may infer willfulness from a

Defendants’ failure to answer or otherwise appear. See, e.g., Rovio Entm't, Ltd. v. Allstar

Vending, Inc., 97 F. Supp. 3d 536, 546 (S.D.N.Y. 2015) (“Copyright infringement is

deemed willful by virtue of a Defendants’ default.”); All–Star Mktg. Grp., LLC v. Media Brands

Co., 775 F.Supp.2d 613, 621–22 (S.D.N.Y. 2011) (“Defendants have defaulted and by virtue of

their default are deemed to be willful infringers”); Chloe v. Zarafshan, 06 Civ. 3140, 2009 WL

2956827 at *7 (S.D.N.Y. Sept. 15, 2009) (“Willfulness may be established by a party’s default

because an innocent party would presumably have made an effort to defend itself.”); Malletier v.

Carducci Leather Fashions, Inc., 648 F.Supp.2d 501, 504 (S.D.N.Y.2009) (“Here, by virtue of

its default, [Defendants] has admitted [plaintiff]'s allegation that it acted knowingly and

intentionally or with reckless disregard or willful blindness to [plaintiff]'s rights.”); Microsoft


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Corp. v. Computer Care Ctr., Inc., No. 06-CV-1429 SLT RLM, 2008 WL 4179653, at *10

(E.D.N.Y. Sept. 10, 2008) (“The Court may infer that Defendants’ infringement was willful from

their failure to continue to defend this lawsuit.”); Van Der Zee, 2006 WL 44020, at *3

(“[W]illful infringement may ... be inferred from [Defendants’] failure to appear and defend the

action.”); Peer Int'l Corp., 2004 WL 1542253, at *3 (“the entry of the default judgment alone

supports the finding of willfulness.”); Fallaci v. New Gazette Literary Corp., 568 F.Supp. 1172,

1173 (S.D.N.Y. 1983) (in a copyright case, the court “dr[e]w a further inference of willfulness

from the Defendants’ failure to appear and defend th[e] action, especially in light of plaintiff's

allegation of willfulness and demand for increased statutory damages applicable to willful

infringers”) (internal quotation marks and citation omitted).

       Here, Defendants’ utter disregard for this proceeding in its entirety warrant the Court’s

finding of willfulness.

D.     AN AWARD OF $5,000.00 IS APPROPRIATE TO SERVE THE PURPOSES OF THE
       COPYRIGHT ACT’S STATUTORY DAMAGES PROVISION

       Copyright infringement cases brought by individual copyright holders do more than

compensate victims. They secure intellectual property rights from widespread invasion by

largescale corporations, maintain order in society, and promote the Progress of the Sciences and

the useful Arts. See Apple Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1255 (3d

Cir. 1983) (public interest can only be served by upholding copyright protections, thus

preventing misappropriation of skills, creative energies, and resources invested in protected

work); see also Walt Disney Co. v. Best, No. 88 Civ. 1595(SWK), 1990 WL 144209, at *4

(S.D.N.Y. Sept. 26, 1990) (one of the primary purposes of the Copyright Act is to “deter future

infringements.”); Energy Intelligence Grp., Inc. v. Kayne Anderson Capital Advisors, LP, No.

CV H-14-1903, 2018 WL 2048896, at *12 (S.D. Tex. May 2, 2018) (“The protection


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of copyrights is a vindication of the public interest, and the statutory penalty

for copyright infringement is intended not just to compensate the copyright owner, but to deter

Kayne and others like them from committing copyright infringement.”); 3 NIMMER § 14.06[A],

at 14–80

       Statutory damages under the Copyright Act “serve[ ] two purposes - compensatory and

punitive.” Richard Feiner and Co., Inc. v. Passport Int'l Prods., Inc., No. 97 Civ. 9144(RO),

1998 WL 437157, at *2 n. 13 (S.D.N.Y. July 31, 1998) (quoting Fitzgerald Publ'g Co., Inc. v.

Baylor Publ'g Co., 807 F.2d 1110, 1117 (2d Cir. 1986)) (internal quotation marks omitted).4

Where a Defendants has acted willfully, “a statutory award should incorporate not only a

compensatory, but also a punitive component to discourage further wrongdoing by the

Defendants and others.” CJ Prod. LLC, 2012 WL 2856068, at *3; accord Malletier, 648

F.Supp.2d at 504.

       Here, Plaintiff requests statutory damages of $5,000, which is one-sixth of the maximum

amount permitted for non-willful infringement. 17 U.S.C. § 504(c)(1). The amount requested is

less than long-standing precedent in copyright infringement cases where Defendant has

defaulted. See, e.g., Lucerne Textiles, Inc. v. H.C.T. Textiles Co., No. 12-cv-5456 (KMW) (AJP),



4
  “The Court may award statutory damages in an amount within a permissive range that will
further the Copyright Act’s objectives of compensating copyright owners for past infringement
and deterring future infringement.” Granada Sales Corp. v. Aumer, No. 02 CIV. 6682 (HB)
(RLE), 2003 WL 21383821, at *3 (S.D.N.Y. June 2, 2003) (citing Stevens v. Aeonian Press,
Inc., No. 00 Civ. 6330(JSM), 2002 WL 31387224 at *1 (S.D.N.Y. Oct. 23, 2002). “[S]tatutory
damages are not meant to be merely compensatory or restitutionary . . . . The statutory award is
also meant ‘to discourage wrongful conduct.” Yurman Design, Inc., 262 F.3d at 112 (quotation
and other citation omitted). Moreover, the amount of statutory damages that the court awards
should “further the Copyright Act's dual objectives of compensating copyright owners for past
infringement and deterring future infringement.” Getaped.com, Inc. v. Cangemi, 188 F.Supp.2d
398, 403 (S.D.N.Y. 2002).




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2013 WL 174226, at *3 (S.D.N.Y. Jan. 17, 2013), report and recommendation adopted, 2013

WL 1234911 (S.D.N.Y. Mar. 26, 2013) (finding request for $30,000 in statutory damages

appropriate and consistent with awards in similar copyright cases involving default); Tokar v. 8

Whispering Fields Assocs., Ltd., No. 08-cv-4573 (ADS), 2011 WL 7445062 at *2 (E.D.N.Y.

Dec. 13, 2011) (“In the instant case, it is appropriate for plaintiff to receive the maximum

amount of non-willful statutory damages for the copyrighted work infringed by Defendants....

[W]hile plaintiff does not seek a willfulness enhancement, it is appropriate for the court to

consider the inference of willfulness based on Defendants’ default in determining the amount of

damages within the statutory award range.”); Microsoft Corp., 2008 WL 4179653, at *11

(awarding the “maximum allowable amount of unenhanced statutory damages” of $30,000 upon

default to deter Defendants and others from future infringement); Peer Int'l Corp., 2004 WL

1542253, at *4 (on default, recommending award of statutory damages in the amount of $30,000

on grounds that this “amount would more than compensate Plaintiffs for their actual losses, . . .

would be high enough to deter Defendants and others from similar conduct in the future, and is

consistent with statutory damages amounts awarded in similar cases); Getaped.com, Inc. v.

Cangemi, 188 F.Supp.2d 398, 403 (S.D.N.Y. 2002) (awarding $30,000 for willful infringement

of a single copyrighted work); Stevens, 2002 WL 31387224, at *2 (awarding $30,000 for each of

16 literary works infringed and stating that “in this case it is just to award statutory damages in

an amount that equals the maximum permitted in a case of nonwillful infringement.”); see also

Granada Sales Corp. v. Aumer, No. 02 CIV. 6682 (HB) (RLE), 2003 WL 21383821, at *3

(S.D.N.Y. June 2, 2003) (recommending that plaintiff be awarded $30,000, the maximum

amount pursuant to 17 U.S.C. § 504(c)(1), and an additional $10,000 in enhanced statutory




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damages under 17 U.S.C. § 504(c)(2) for a total of $40,000 in statutory damages as is

“appropriate to achieve the goal of deterrence in light of Defendants’ willful behavior.”).

       In cases involving photographs where a plaintiff-photographer has elected not to provide

evidence of lost licensing fees on default, district courts in this Circuit have awarded anywhere

between $750.00 per photograph up to $30,000 per work.5


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  $30,000: Verch v. Handsome Service, Inc., 19-cv-6162 (FB-PK) (E.D.N.Y. 5/18/20) (awarding
$30,000 in statutory damages for single photograph without proof of lost licensing fee); Bari v.
Ocean Gold Media, LLC, 18-cv-05992 (WFK-SJB) (E.D.N.Y. 2/25/20) (same); Carmody v.
DML News & Entertainment, Inc., 18-cv-04893 (WFK-SJB) (E.D.N.Y.10/8/19) (same);
Lanzilote v. The Tempest Media, Inc., 19-cv-00477 (JGK) (S.D.N.Y. 6/04/19) (same); Anderson
v. Primera Plana NY, Inc., No. 17-CV-7715 (JMF), 2019 WL 1966369, at *1 (S.D.N.Y. May 1,
2019) (same); Wolman v. Hudson Valley News Network, LLC, 18-cv—11589 (JSR) (S.D.N.Y.
4/15/19) (same); Hirsch v. The Dishh, LLC, 18-cv-9079 (LGS) (S.D.N.Y. 12/10/18) (same);
Myeress v. Brissi Group, LLC, 17-cv-9691 (KPF) (S.D.N.Y. 6/25/18) (same); J.C. Rice v. Sutton
New Media LLC, 17-cv-8332 (WHP) (S.D.N.Y. 5/24/18) (same); Myers v. COED Media Group,
LLC, 18-cv-02180 (JSR) (S.D.N.Y. 5/2/18) (same); Marzullo v. Karmic Release Ltd., 17-cv-
7482 (KPF) (S.D.N.Y. 4/24/18) (same); Zlozower v. Rukkus, Inc., 17-cv-09510 (RWS)
(S.D.N.Y. 3/28/18) (same); Chevrestt v. Craft Nation, Inc., 17-cv-09232-JSR (S.D.N.Y. 1/8/18)
(same); Lee v. White Cat Media, 17-cv-8122 (JSR) (S.D.N.Y. 12/13/17) (same); Miller v.
AllHipHop.com LLC, 16-cv-02744 (RA) (S.D.N.Y. 10/11/16) (same).

$25,000: Whitehead v. Mix Unit, LLC, No. 17-CV-9476-VSB-JLC, 2019 WL 384446, at *1
(S.D.N.Y. Jan. 31, 2019), report and recommendation adopted, No. 17-CV-9476 (VSB), 2019
WL 1746007 (S.D.N.Y. Apr. 18, 2019) (awarding $25,00.00 in statutory damages for
unauthorized use of a single design on T-shirts); Sadowski v. Render Media Inc., No.
17CV9045PGGJLC, 2020 WL 1178629, at *2 (S.D.N.Y. Mar. 10, 2020) (awarding $25,00.00 in
statutory damages for unauthorized use of a single photograph with no proof of actual loss).

$20,000: Myeress v. Elite Travel Grp. USA, No. 18-CV-340 (AJN), 2018 WL 5961424, at *3
(S.D.N.Y. Nov. 14, 2018) (awarding $20,000 in statutory damages for unauthorized use of a
single photograph with no proof of actual loss).

$5,000: Seelie v. Original Media Grp. LLC, No. 19-CV-5643 (BMC), 2020 WL 136659, at *5
(E.D.N.Y. Jan. 13, 2020) (awarding $5,000 in statutory damages for unauthorized use of a single
photograph with no proof of actual loss); Bass v. Diversity Inc. Media, No. 19-CV-2261 (AJN),
2020 WL 2765093, at *5 (S.D.N.Y. May 28, 2020) (same); Mango v. Pacifica Found., Inc., No.
18-CV-6318, 2019 WL 569073, *1 (E.D.N.Y. Feb. 11, 2019) (awarding $5,000 as “sufficient to
compensate the plaintiff and to punish the Defendants for its willful infringement” when the
plaintiff “offered no evidence regarding actual damages or the market value of the copyrighted
photographs.”)

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         Courts in this Circuit consistently uphold substantial awards of statutory damages

regardless of the actual harm suffered because statutory damages “are not meant to be merely

compensatory or restitutionary,” but instead serve to vindicate the statutory purpose by

“discourag[ing] wrongful conduct.” Yurman Design, 262 F.3d at 113; accord L.A. Printex Indus.,

Inc. v. Does 1-10, 543 Fed.Appx. 110, 111 (2d Cir. 2013) (affirming award of statutory damages

that was “disproportionate” to actual damages because it did not “shock the conscience”); UMG

Recordings, Inc. v. MP3.Com, Inc., No. 00-cv-472 (JSR), 2000 WL 1262568 at *5-6 (S.D.N.Y.

Sept. 6, 2000) (approving award of up to $118 million despite lack of evidence related to actual

harm).




$3,750: Sadowski v. Roser Commc'ns Network, Inc., No. 6:19-CV-592, 2020 WL 360815, at *3
(N.D.N.Y. Jan. 22, 2020)

$2,500: Idir v. La Calle TV, LLC, No. 19-CV-6251 (JGK), 2020 WL 4016425, at *4 (S.D.N.Y.
July 15, 2020) (awarding $2,500 for unauthorized use of a single photograph with no proof of
actual loss); Mantel v. Smash.com Inc., No. 19-CV-6113-FPG, 2019 WL 5257571, at *3
(W.D.N.Y. Oct. 17, 2019) (same).

$1,000: Dermansky v. Tel. Media, LLC, No. 19CV1149PKCPK, 2020 WL 1233943, at *1
(E.D.N.Y. Mar. 13, 2020) (awarding $1000.00 in statutory damages for single photograph);
Mordant v. Citinsider LLC, No. 18-CV-9054 (RA), 2019 WL 3288391, at *1 (S.D.N.Y. July 22,
2019) (same)

$750: Downs v. Yeshiva World News, LLC, No. 18CV0250LDHJO, 2019 WL 1261406, at *3
(E.D.N.Y. Feb. 1, 2019) (awarding $750 in statutory damages per work); Stridiron v. Cmty.
Broadcasters, LLC, No. 5:19-CV-108-MAD-ATB, 2019 WL 2569863, at *4 (N.D.N.Y. June 21,
2019) (stating that “courts have found the statutory minimum of $750 to be a more appropriate
award” for the infringement of a single photograph when a plaintiff does not provide any
evidence supporting a higher amount).




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POINT IV:      THE WELL-PLEADED ALLEGATIONS OF THE COMPLAINT
               ESTABLISH THE DEFENDANTS’ DMCA VIOLATION

       To establish a DMCA claim pursuant to 17 U.S.C § 1202(b)(3), a plaintiff must establish:

“(1) the existence of CMI on the infringed work; (2) distribution of the infringed work

containing missing and/or altered CMI; (3) that the distribution was done knowing that the CMI

was removed and/or altered without permission; and (4) that the distribution was done knowing

that it would induce, enable, facilitate, or conceal an infringement.” Mango v. BuzzFeed, Inc.,

356 F. Supp. 3d 368, 377 (S.D.N.Y. 2019).

       Here, the Complaint alleges the requisite elements. [Comp, ¶¶ 24-31] The Digital

Millennium Copyright Act (“DMCA”) provides that courts may award between $2,500 and

$25,000 in statutory damages for violation of section 1202(b). See 17 U.S.C. § 1203(c)(3)(B).

       This Court has recently awarded $10,000 in statutory damages for a DMCA violation in a

case involving a single photograph, without any proof of actual losses. See, e.g., Korman v. The

Bronx Chronicle L.L.C., 19-cv-09047-CM (S.D.N.Y. Nov. 5, 2020) (awarding $10,000 in

statutory damages under 17 U.S.C. § 1203(c)(3)(B) for a single photograph without proof of

loss); Ward v. MusicLife Entertainment Group, LLC, 18-cv-08457-MKV (S.D.N.Y. 9/23/20)

[Dkt. # 43]; Hirsch v. The Dishh, LLC, 18-cv-9079 (LGS) (S.D.N.Y. Dec. 10, 2018)

(“Defendants shall pay $10,000.00 in statutory damages as civil penalties for removal and/or

alteration of copyright management information in violation of 17 U.S.C. § 1202(b)”); Martinka

v. Diario De Mexico USA, Inc., 18-cv-1993 (AT) (S.D.N.Y. June 27, 2018) (awarding “$10,000

in civil penalties for improper removal of copyright management information” in violation of 17

U.S.C. § 1202(b)); Myeress v. Brissi Group, LLC, 17-cv-9691 (KPF) (S.D.N.Y. June 25, 2018)

(awarding “$10,000 in civil penalties for improper removal of copyright management

information” in violation of 17 U.S.C. § 1202(b)).



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POINT V:        THE COURT SHOULD AWARD $455.00 IN ATTORNEYS’ FEES, $440.00
                IN COSTS AND POST-JUDGMENT INTEREST

A.      THE COURT SHOULD AWARD $455.00 IN ATTORNEYS’ FEES

        Under the Copyright Act, an award of fees is appropriate to promote the goal of

deterrence where the evidence supports a finding of willfulness. See Kepner-Tregoe, Inc. v.

Vroom, 186 F.3d 283, 289 (2d Cir.1999); see also U2 Home Entm't, Inc. v. Lai Ying Music &

Video Trading, Inc., No. 04-CV-1233 (DLC), 2005 WL 1231645, at *7 (S.D.N.Y. May 25,

2005); Peer Int'l Corp., 2004 WL 1542253, at *5. Here, willfulness may be inferred from

Defendants’ default. See Microsoft Corp., 2008 WL 4179653, at *13 (awarding attorneys’ fees);

Entral Group Int'l, LLC, 2006 WL 3694584, at *6 (same).

        “Defendants’ default ordinarily would weigh in favor of awarding attorneys’ fees and

costs under 17 U.S.C. § 505.” CJ Prod. LLC, 2012 WL 2856068, at *3; see also All–Star Mktg.

Grp., 775 F.Supp.2d at 628 (awarding plaintiff reasonable attorney’s fees in a copyright

infringement case where Defendants defaulted); Pearson Educ., Inc. v. Vergara, 2010 WL

3744033 at *5 (“awarding costs and attorney’s fees is warranted, in order to compensate the

plaintiffs for the costs they incurred to retain counsel to initiate this litigation and secure

judgment by default”); Gladys Music v. Bilbat Radio, Inc., No. 07–CV–6086, 2007 WL 3033960

at *1 (W.D.N.Y. Oct. 15, 2007) (awarding plaintiff reasonable attorney’s fees in a copyright

infringement case where Defendants defaulted and the amount of attorneys’ fees “due to

Plaintiffs ... deriv[ed] from Defendants' repeated violations of copyright law.”)

        When determining the reasonableness of attorneys’ fees, this Circuit uses the “lodestar

method,” which involves comparison of the rates charged by the prevailing party’s counsel with

the rates charged by attorneys of similar skill and experience practicing in the same locality. See,

e.g. Dweck v. Amadi, 10 Civ. 2577, 2012 WL 3020029 at *4 & n. 5 (S.D.N.Y. July 6, 2012)


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(collecting cases approving $180 to $440 hourly rates for intellectual property associates), report

& rec. adopted, 2012 WL 3024185 (S.D.N.Y. July 24, 2012); OZ Mgmt. LP v. Ozdeal Inv.

Consultants, Inc., 09 Civ. 8665, 2010 WL 5538552 at *3 (S.D.N.Y. Dec. 6, 2010) (approving

$395 to $435 associate rates), report & rec. adopted, 2011 WL 43459 (S.D.N.Y. Jan.5,

2011); U.S.A. Famous Original Ray's Licensing Corp. v. Tisi's Pizza & Pasta Inc., 09 Civ. 5517,

2009 WL 4351962 at *7 (S.D.N.Y. Dec.1, 2009) (Peck, M.J.) ($295 for ninth year associate is

“commensurate with (if not lower than) the rates that attorneys in Manhattan with comparable

experience charge and the rates that Southern and Eastern District judges have approved in other

intellectual property cases”), report & rec. adopted, 2009 WL 5178023 (S.D.N.Y. Dec. 31,

2009); Entral Group Int’l LLC, 2007 WL 2891419, at *10 (finding associate rates of $360 and

$340 to be reasonable in copyright infringement case); Crescent Publ'g Group v. Playboy

Enters., Inc., 246 F.3d 142, 150 (2d Cir. 2001) (rates of $354 per hour for partners and $250 per

hour for associates deemed reasonable when compared with the rates charged by attorneys of

similar skill and experience practicing in New York City).

       Here, Plaintiff has adequately supported his claims for attorneys’ fees by submitting an

attorney declaration, contemporaneous time records, and a statement regarding each attorney’s

individual billing rate which at $350/hr. is consistent with the local market for legal services in

the field of copyright litigation. [See Declaration of James H. Freeman, filed concurrently

herewith] Mr. Freeman’s hourly rate of $350/hr. was recently approved in Mango v. BuzzFeed,

Inc., 397 F. Supp. 3d 368, 376 (S.D.N.Y. 2019) (“the Court finds that $350 per hour is an

appropriate rate for Freeman’s hours”).




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B.     THE COURT SHOULD AWARD $440.00 IN COSTS

       Pursuant to section 505 of the Copyright Act, Plaintiff can also recover his claimed costs

for filing fees, service fees, and postage either as allowed costs under the general cost recovery

statute, 28 U.S.C. § 1920, or under 17 U.S.C. § 505.

       Here, Plaintiff has sufficiently documented his costs by submission of contemporaneous

time records listing disbursements and expenditures. Overall, the fees and costs sought are

reasonable, and are recoverable under the applicable statutes.

C.     THE COURT SHOULD AWARD POST-JUDGMENT INTEREST UNDER 28 U.S.C.A. § 1961

       Under federal law, “[i]nterest shall be allowed on any money judgment in a civil case

recovered in a district court.” 28 U.S.C.A. § 1961. Accordingly, it is appropriate for the Court

to award post-judgment interest here. “Such interest shall be calculated from the date of the

entry of the judgment, at a rate equal to the weekly average 1-year constant maturity Treasury

yield, as published by the Board of Governors of the Federal Reserve System, for the calendar

week preceding the date of the judgment.” Id.


                                         CONCLUSION

       Based on the foregoing reasons, the Court should enter a default judgment against

Defendants for liability for copyright infringement; for violation of section 1202(b)(3) of the

DMCA and enter a judgment on statutory damages in the amount of $5,000.00 for Count I,

$5,000.00 for Count II, plus $455.00 in attorneys’ fees and $440.00 in costs.



                                                       Respectfully Submitted,

                                                       s/jameshfreeman/

                                                       By: James H .Freeman



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